Case 18-21835   Doc 32   Filed 12/10/18   Page 1 of 12
                                                 Case 18-21835                            Doc 32                Filed 12/10/18                         Page 2 of 12
 Fill in this information to identify the case:

 Debtor name            Mike Isabella, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF MARYLAND

 Case number (if known)               18-21835
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           507,811.10

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           507,811.10


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            39,576.40

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,545,386.83


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,584,963.23




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                        Case 18-21835                Doc 32       Filed 12/10/18       Page 3 of 12
 Fill in this information to identify the case:

 Debtor name         Mike Isabella, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)         18-21835
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Eagle Bank                                              Checking                        2436                                       $113.20




           3.2.     Eagle Bank                                              Checking                        2135                                     $8,342.31




           3.3.     Eagle Bank                                              Checking                        7441                                       $226.86



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $8,682.37
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                        Case 18-21835                     Doc 32     Filed 12/10/18           Page 4 of 12

 Debtor         Mike Isabella, Inc.                                                                Case number (If known) 18-21835
                Name


        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            111,500.79       -                                0.00 = ....                 $111,500.79
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 23,418.25   -                                0.00 = ....                  $23,418.25
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 57,811.52   -                                0.00 = ....                  $57,811.52
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 66,053.74   -                                0.00 = ....                  $66,053.74
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 60,000.00   -                                0.00 = ....                  $60,000.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 10,000.00   -                                0.00 = ....                  $10,000.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 77,046.40   -                                0.00 = ....                  $77,046.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 93,298.03   -                                0.00 = ....                  $93,298.03
                                              face amount                            doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                               $499,128.73
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                            Valuation method used    Current value of
                                                                                                            for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     TyIsa, LLC                                                        69.20        %                                            Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                        Case 18-21835                Doc 32       Filed 12/10/18       Page 5 of 12

 Debtor         Mike Isabella, Inc.                                                          Case number (If known) 18-21835
                Name




           15.2.     CpKap, LLC                                                     100       %                                     Unknown




           15.3.     MosaKap, LLC                                                   99.90     %                                     Unknown




           15.4.     Bella Yella, LLC                                               100       %                                     Unknown




           15.5.     MIC Promo LLC                                                  100       %                                     Unknown




           15.6.     ReqWharf, LLC                                                  60        %                                     Unknown




           15.7.     BethKap, LLC                                                   20        %                                     Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                          $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
                                        Case 18-21835                Doc 32       Filed 12/10/18       Page 6 of 12

 Debtor         Mike Isabella, Inc.                                                           Case number (If known) 18-21835
                Name



 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Debtor owns the following Tradenames:
            Bandolero, Mike Isabella Concepts, Kapnos,
            Kapnos Kouzina, Kapnos Taverna, and
            Requin.                                                                    Unknown                                              Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                            Case 18-21835                      Doc 32                Filed 12/10/18                  Page 7 of 12

 Debtor          Mike Isabella, Inc.                                                                                 Case number (If known) 18-21835
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                     Current value of real
                                                                                                     personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $8,682.37

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $499,128.73

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $507,811.10            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $507,811.10




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                                             Case 18-21835                Doc 32         Filed 12/10/18             Page 8 of 12
 Fill in this information to identify the case:

 Debtor name          Mike Isabella, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)              18-21835
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
 2.1    The Columbia Bank                             Describe debtor's property that is subject to a lien                            $0.00                    $0.00
        Creditor's Name
        Loan Operations
        P.O. Box 69
        East Petersburg, PA 17520
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                         $0.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                                        Case 18-21835                      Doc 32            Filed 12/10/18                       Page 9 of 12
 Fill in this information to identify the case:

 Debtor name         Mike Isabella, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)           18-21835
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $39,576.40         $39,576.40
           Government of the District of                             Check all that apply.
           Columbia                                                     Contingent
           1101 4th Street, SW                                          Unliquidated
           Washington, DC 20024                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Corporate Franchise Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 $176,321.78
           EagleBank                                                                   Contingent
           130 Rollins Avenue                                                          Unliquidated
           Rockville, MD 20852
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Guarantor on Loan
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No     Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $4,857.42
           Kelly Health Insurance                                                      Contingent
           P.O. Box 418926                                                             Unliquidated
           Boston, MA 02241-8926                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Payable
           Last 4 digits of account number      4657
                                                                                   Is the claim subject to offset?           No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                   33299                                           Best Case Bankruptcy
                                       Case 18-21835                  Doc 32         Filed 12/10/18                 Page 10 of 12
 Debtor       Mike Isabella, Inc.                                                                     Case number (if known)            18-21835
              Name

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $775,096.00
           M&T Bank                                                             Contingent
           One M&T Plaza                                                        Unliquidated
           Buffalo, NY 14203                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Guarantor on Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        39,576.40
 5b. Total claims from Part 2                                                                            5b.   +    $                       956,275.20

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          995,851.60




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                                       Case 18-21835                 Doc 32   Filed 12/10/18           Page 11 of 12
 Fill in this information to identify the case:

 Debtor name         Mike Isabella, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)         18-21835
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Payroll
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          ADP
                                                                                    c/o Maddie Dean
             List the contract number of any                                        401 North Washington Street
                   government contract                                              Rockville, MD 20850


 2.2.        State what the contract or                   Acct##224657
             lease is for and the nature of               Trade Payable
             the debtor's interest

                  State the term remaining
                                                                                    Kelly Health Insurance
             List the contract number of any                                        P.O. Box 418926
                   government contract                                              Boston, MA 02241-8926




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                       Case 18-21835                 Doc 32     Filed 12/10/18      Page 12 of 12
 Fill in this information to identify the case:

 Debtor name         Mike Isabella, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)         18-21835
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      14WBella, LLC                     12154 Darnestown Road, Ste 621                     EagleBank                         D
                                               Gaithersburg, MD 20878                                                               E/F       3.5
                                                                                                                                    G




    2.2      BallKap, LLC                      12154 Darnestown Road, Ste 621                     EagleBank                         D
                                               Gaithersburg, MD 20878                                                               E/F       3.5
                                                                                                                                    G




    2.3      MosaKap, LLC                      12154 Darnestown Road, Ste 621                     EagleBank                         D
                                               Gaithersburg, MD 20878                                                               E/F       3.5
                                                                                                                                    G




    2.4      ReqWharf LLC                      12154 Darnestown Road, Ste 621                     The Columbia Bank                 D   2.1
                                               Gaithersburg, MD 20878                                                               E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
